
76 So.3d 354 (2011)
Derrick D. COLSON, Appellant,
v.
FLORIDA UNEMPLOYMENT APPEALS COMMISSION, Appellee.
No. 1D11-1294.
District Court of Appeal of Florida, First District.
December 15, 2011.
Derrick D. Colson, pro se, Appellant.
Louis A. Gutierrez, Senior Attorney, Florida Unemployment Appeals Commission, Tallahassee, for Appellee.
PER CURIAM.
Derrick Colson appeals the final agency action by the Florida Unemployment Appeals Commission ("UAC") dismissing his untimely appeal to the Commission. For the reasons expressed in Colson v. Florida Unemployment Appeals Commission, et al., ___ So.3d ___, 2011 WL 6224593 (Fla. 1st DCA 2011), the Commission's final order is AFFIRMED.
HAWKES, CLARK, and SWANSON, JJ., concur.
